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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

   JARROD JOHNSON, individually, and
   on Behalf of a Class of persons similarly
   situated,
                                                  Civil Action
          Plaintiff,                              File No.:    4:20-cv-00008-AT
   v.

   3M COMPANY, et al.

          Defendants.
                      DWSWA’S DEFENSES AND ANSWER
                TO PLAINTIFF’S FOURTH AMENDED COMPLAINT

        COMES NOW, Dalton Whitfield Regional Solid Waste Authority (“DRSWA”),

named Defendant in the above styled action, and files the following Defenses and Answer

to Plaintiff’s Fourth Amended Complaint and shows the Court as follows:

                                  FIRST DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                 SECOND DEFENSE

        Defendant DWSWA responds to the individual paragraphs of Plaintiff’s

Complaint as follows:

                                        1.

        DWSWA states Paragraph 1 of the complaint is a narrative setting forth legal
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conclusions to which no response is required. To the extent Paragraph 1 is interpreted

to contain factual allegations requiring response, DWSWA denies those allegations.

                                        2.

      DWSWA denies the allegations contained in paragraph 2 of Plaintiff’s

Complaint.

                                        3.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 3 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        4.

      DWSWA denies the allegations contained in paragraph 4 of Plaintiff’s

Complaint.

                                        5.

      DWSWA denies the allegations contained in paragraph 5 of Plaintiff’s

Complaint as it pertains to this defendant. Responding further, DWSWA is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 5 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                        6.


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      DWSWA states Paragraph 6 of the complaint is a narrative setting forth legal

conclusions to which no response is required. To the extent Paragraph 6 is interpreted

to contain factual allegations requiring response, DWSWA denies those allegations.

                               Jurisdiction and Venue

                                      7.

      DWSWA admits jurisdiction and venue are proper as it pertains to the CWA

claims asserted against it.

                                      8.

      DWSWA admits the two letters were sent to DWSWA. Responding further,

DWSWA denies the remaining allegations of Paragraph 8 as alleged against DWSWA.

Responding further, DWSWA is without knowledge or information sufficient to form

a belief as to the truth of the averments addressed to Dalton Utilities contained in

paragraph 8 of Plaintiff’s Complaint and, therefore, cannot admit or deny same.

                                      9.

      DWSWA admits jurisdiction and venue are proper as it pertains to the CWA

claims asserted against DWSWA. Responding further, DWSWA is without

knowledge or information sufficient to form a belief as to the truth of the remaining

averments contained in paragraph 9 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.


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                                        10.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 10 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        11.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 11 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        12.

      DWSWA admits venue is proper. Responding further, DWSWA denies the

remaining allegations contained in paragraph 12 of Plaintiff’s Complaint.

                                        13.

      DWSWA admits the court has subject matter jurisdiction. Responding further,

DWSWA denies the remaining allegations contained in paragraph 13 of Plaintiff’s

Complaint.

                                        14.

      DWSWA admits venue is proper. Responding further, DWSWA denies the

remaining allegations contained in paragraph 14 of Plaintiff’s Complaint.

                                         Parties


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                                        15.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 15 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        16.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 16 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        17.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 17 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        18.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 18 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        19.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 19 of Plaintiff’s Complaint and,


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therefore, cannot admit or deny same.

                                        20.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 20 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        21.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 21 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        22.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 22 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        23.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 23 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.



                                        24.


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      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 24 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        25.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 25 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        26.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 26 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        27.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 27 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        28.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 28 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.


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                                        29.

      DWSWA admits it is an enterprise fund created by the City of Dalton and

Whitfield County, Georgia, and it admits it operates certain facilities containing

landfills in Whitfield County. DWSWA further admits it installed a forced sewer main

to send leachate directly to Dalton Utilities in 2013. Responding further, DWSWA

denies the remaining allegations contained in Paragraph 29 of the Complaint.

                                        30.

      DWSWA admits the allegation contained in Paragraph 30 of the complaint.

                                        31.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 31 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        32.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 32 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        33.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 33 of Plaintiff’s Complaint and,


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therefore, cannot admit or deny same.

                                        34.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 34 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        35.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 35 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        36.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 36 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        37.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 37 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.



                                        38.


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      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 38 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        39.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 39 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        40.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 40 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        41.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 41 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        42.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 42 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.


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                                        43.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 43 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        44.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 44 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        45.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 45 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        46.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 46 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        47.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 47 of Plaintiff’s Complaint and,


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therefore, cannot admit or deny same.

                                        48.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 48 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        49.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 49 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        50.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 50 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                Factual Allegations

                                        51.

      DWSWA admits Dalton, Georgia is commonly referred to as “the Carpet

Capital of the World.” DWSWA admits it collects solid waste in Whitfield County,

Georgia. Responding further, DWSWA is without knowledge or information sufficient

to form a belief as to the truth of the remaining averments contained in paragraph 51


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of Plaintiff’s Complaint and, therefore, cannot admit or deny same.

                                        52.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 52 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        53.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 53 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        54.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 54 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        55.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 55 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.



                                        56.


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      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 56 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        57.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 57 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        58.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 58 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        59.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 59 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        60.

      DWSWA admits the EPA has published certain advisories related to the subject

compounds. Responding further, DWSWA is without knowledge or information

sufficient to form a belief as to the truth of the remaining averments contained in


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paragraph 60 of Plaintiff’s Complaint and, therefore, cannot admit or deny same.

                                        61.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 61 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        62.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 62 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        63.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 63 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        64.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 64 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.



                                        65.


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      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 65 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        66.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 66 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

            Defendant’s knowledge of Toxicity and Persistence of PFAS

                                        67.

      DWSWA denies the allegations contained in paragraph 67 of Plaintiff’s

Complaint insofar as they are directed at DWSWA. Responding further, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 67 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                        68.

      DWSWA states paragraph 68 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 68 of Plaintiff’s Complaint and, therefore,


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cannot admit or deny same.

                                      69.

      DWSWA states paragraph 69 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 69 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      70.

      DWSWA states paragraph 70 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 70 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      71.

      DWSWA states paragraph 71 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 71 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.


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                                      72.

      DWSWA states paragraph 72 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 72 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      73.

      DWSWA states paragraph 73 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 73 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      74.

      DWSWA states paragraph 74 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 74 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      75.


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      DWSWA states paragraph 75 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 75 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      76.

      DWSWA states paragraph 76 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 76 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      77.

      DWSWA states paragraph 77 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 77 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.



                                      78.


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      DWSWA states paragraph 78 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 78 of Plaintiff’s Complaint and, therefore,

cannot admit or deny same.

                                      79.

      DWSWA denies the allegations contained in paragraph 79 of Plaintiff’s

Complaint.

                                      80.

      DWSWA denies the allegations contained in paragraph 80 of Plaintiff’s

Complaint.

                                      81.

      DWSWA denies the allegations contained in paragraph 81 of Plaintiff’s

Complaint.

                                      82.

      DWSWA denies the allegations contained in paragraph 82 of Plaintiff’s

Complaint to the extent they are addressed at DWSWA. Responding further, DWSWA

is without knowledge or information sufficient to form a belief as to the truth of the

remaining averments contained in paragraph 82 of Plaintiff’s Complaint and, therefore,


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cannot admit or deny same.

              Contamination of Upper Coosa River Basin with PFAS

                                    83.

      DWSWA denies the allegations contained in paragraph 83 of Plaintiff’s

Complaint.

                                    84.

      DWSWA states paragraph 84 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 84 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    85.

      DWSWA states paragraph 85 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 85 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.



                                    86.


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      DWSWA states paragraph 86 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 86 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    87.

      DWSWA states paragraph 87 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 87 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    88.

      DWSWA states paragraph 88 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 88 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.



                                    89.


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      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 89 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        90.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 90 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        91.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 91 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        92.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 92 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        93.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 93 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.


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                                        94.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 94 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        95.

      DWSWA states paragraph 95 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

remaining averments in paragraph 95 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                        96.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 96 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                      PFAS Contamination of Rome Water Supply

                                        97.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 97 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.


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                                        98.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 98 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                        99.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 99 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                    100.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 100 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                    101.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 101 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                    102.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 102 of Plaintiff’s Complaint and,


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therefore, cannot admit or deny same.

                                      103.

       DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 103 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                      104.

       DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the remaining averments contained in paragraph 104 of Plaintiff’s

Complaint and, therefore, cannot admit or deny same. Responding further, DWSWA

denies any allegations in this paragraph – express or implied – that DWSWA liable to

Plaintiff in any manner whatsoever.

Count One: Discharge of Pollutants to Surface Waters Without an NPDES Permit in
          Violation of the Clean Water Act (Defendant Dalton Utilities)

                                      105.

       DWSWA incorporates by references its responses to paragraphs 1 through 104

as if restated herein.

                                      106.

       DWSWA states paragraph 106 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

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averments contained in paragraph 106 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    107.

      DWSWA states paragraph 107 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 107 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    108.

      DWSWA states paragraph 108 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 108 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    109.

      DWSWA states paragraph 109 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 109 of Plaintiff’s Complaint and, therefore, cannot


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admit or deny same.

                                    110.

      DWSWA states paragraph 110 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 110 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    111.

      DWSWA states paragraph 111 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 111 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    112.

      DWSWA states paragraph 112 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 112 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.


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                                    113.

      DWSWA states paragraph 113 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 113 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    114.

      DWSWA states paragraph 114 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 114 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    115.

      DWSWA states paragraph 115 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 115 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    116.


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      DWSWA states paragraph 116 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 116 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    117.

      DWSWA states paragraph 117 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 117 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                    118.

      DWSWA states paragraph 118 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 118 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.



                                    119.


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       DWSWA states paragraph 119 of Plaintiff’s Complaint does not contain any

allegations related to DWSWA. To the extent a response is required, DWSWA is

without knowledge or information sufficient to form a belief as to the truth of the

averments contained in paragraph 119 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

 Count Two: Industrial User Pass Through Discharges of Pollutants in Violation of
 Federal Prohibitions, Dalton Utilities’ Sewer Use Rules and Regulations, and the
  Clean Water Act (Defendant Dalton Whitfield Regional Solid Waste Authority)

                                     120.

       DWSWA incorporates by references its responses to paragraphs 1 through 119

as if restated herein.

                                     121.

       DWSWA states this paragraph contains solely citations to legal authorities, and

therefore no response is required. Responding further, to the extent a response is

required, DWSWA is without knowledge or information sufficient to form a belief as

to the truth of the remaining averments contained in paragraph 121 of Plaintiff’s

Complaint and, therefore, cannot admit or deny same.

                                     122.

       DWSWA states this paragraph contains solely citations to legal authorities, and

therefore no response is required. Responding further, to the extent a response is


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required, DWSWA is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 122 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                     123.

      DWSWA states this paragraph contains solely citations to legal authorities, and

therefore no response is required. Responding further, to the extent a response is

required, DWSWA is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 123 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                     124.

      DWSWA states this paragraph contains solely citations to legal authorities, and

therefore no response is required. Responding further, to the extent a response is

required, DWSWA is without knowledge or information sufficient to form a belief as

to the truth of the averments contained in paragraph 124 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                     125.

      DWSWA admits Dalton Utilities has established certain regulations for its

facility and its customers. Responding further, DWSWA is without knowledge or

information sufficient to form a belief as to the truth of the remaining averments


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contained in paragraph 125 of Plaintiff’s Complaint and, therefore, cannot admit or

deny same.

                                     126.

      DWSWA states this paragraph contains solely citations to statues and legal

authorities, and therefore no response is required. Responding further, to the extent a

response is required, DWSWA is without knowledge or information sufficient to form

a belief as to the truth of the remaining averments contained in paragraph 126 of

Plaintiff’s Complaint and, therefore, cannot admit or deny same.

                                     127.

      DWSWA states this paragraph contains solely citations legal authorities, and

therefore no response is required. Responding further, to the extent a response is

required, DWSWA is without knowledge or information sufficient to form a belief as

to the truth of the remaining averments contained in paragraph 127 of Plaintiff’s

Complaint and, therefore, cannot admit or deny same.

                                     128.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 128 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                     129.


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       DWSWA denies the allegations contained in paragraph 129 of Plaintiff’s

Complaint.

                                   130.

       DWSWA denies the allegations contained in paragraph 130 of Plaintiff’s

Complaint.

                                   131.

       DWSWA denies the allegations contained in paragraph 131 of Plaintiff’s

Complaint.

                                   132.

       DWSWA denies the allegations contained in paragraph 132 of Plaintiff’s

Complaint.

                                   133.

       DWSWA denies the allegations contained in paragraph 133 of Plaintiff’s

Complaint.

                                Class Allegations

                                   134.

       DWSWA incorporates by references its responses to paragraphs 1 through 133

as if restated herein.

                                   135.


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      DWSWA states this paragraph does not contain any averments which require a

response. Responding further, to the extent a response is required, DWSWA denies the

allegations contained in paragraph 135 of Plaintiff’s Complaint.

                                     136.

      DWSWA denies the allegations contained in paragraph 136 of Plaintiff’s

Complaint.

                                     137.

      DWSWA admits Plaintiff Johnson seeks to bring this action on behalf of a

certain class. Responding further, DWSWA denies the remaining allegations contained

in paragraph 137 of Plaintiff’s Complaint and, therefore, cannot admit or deny same.

                                     138.

      DWSWA admits Plaintiff Johnson seeks to exclude the listed persons from the

certain class in this lawsuit. Responding further, DWSWA denies the remaining

allegations contained in paragraph 138 of Plaintiff’s Complaint and, therefore, cannot

admit or deny same.

                                     139.

      DWSWA denies the allegations contained in paragraph 139 of Plaintiff’s

Complaint.

                                     Numerosity


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                                    140.

      DWSWA denies the allegations contained in paragraph 140 of Plaintiff’s

Complaint.

                                    141.

      DWSWA denies the allegations contained in paragraph 141 of Plaintiff’s

Complaint.

                                        Typicality

                                    142.

      DWSWA denies the allegations contained in paragraph 142 of Plaintiff’s

Complaint.

                             Adequate Representation

                                    143.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 143 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                    144.

      DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 144 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.


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                   Predominance of Common Questions of Law and Fact

                                     145.

      DWSWA denies the allegations contained in paragraph 145 of Plaintiff’s

Complaint, including all sub-parts thereof.

                                     146.

      DWSWA denies the allegations contained in paragraph 146 of Plaintiff’s

Complaint.

         Fed. R. Civ. P. 23(a) and 23(b)(2) Injunctive or Declaratory Relief

                                     147.

      DWSWA denies the allegations contained in paragraph 147 of Plaintiff’s

Complaint.

                                     148.

      DWSWA denies the allegations contained in paragraph 148 of Plaintiff’s

Complaint.

                                     Superiority

                                     149.

      DWSWA denies the allegations contained in paragraph 149 of Plaintiff’s

Complaint.

                                     150.


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       DWSWA denies the allegations contained in paragraph 150 of Plaintiff’s

Complaint.

 Count Three: Willfull, Wanton, Reckless, or Negligent Misconduct (All Defendants
                             Except Dalton Utilities)

                                    151.

       DWSWA incorporates by reference its responses to paragraphs 1 through 150

as if restated herein.

                                    152.

       DWSWA denies the allegations contained in paragraph 152 of Plaintiff’s

Complaint.

                                    153.

       DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 153 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                    154.

       DWSWA denies the allegations contained in paragraph 154 of Plaintiff’s

Complaint.

                                    155.

       DWSWA denies the allegations contained in paragraph 155 of Plaintiff’s

Complaint.

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                                   156.

       DWSWA denies the allegations contained in paragraph 156 of Plaintiff’s

Complaint.

    Count Four: Negligence Per Se (All Defendants Except Dalton Utilities, 2M,
                            DuPont, & Chemours)

                                   157.

       DWSWA incorporates by reference its responses to paragraphs 1 through 156

as if restated herein.

                                   158.

       DWSWA denies the allegations contained in paragraph 158 of Plaintiff’s

Complaint.

                                   159.

       DWSWA denies the allegations contained in paragraph 159 of Plaintiff’s

Complaint.

                                   160.

       DWSWA denies the allegations contained in paragraph 160 of Plaintiff’s

Complaint.

                                   161.

       DWSWA denies the allegations contained in paragraph 161 of Plaintiff’s

Complaint.

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                                    162.

       DWSWA denies the allegations contained in paragraph 162 of Plaintiff’s

Complaint.

       Count Five: Punitive Damages (All Defendants Except Dalton Utilities)

                                    163.

       DWSWA incorporates by reference its responses to paragraphs 1 through 162

as if restated herein.

                                    164.

       DWSWA denies the allegations contained in paragraph 164 of Plaintiff’s

Complaint.

                                    165.

       DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 165 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

                                    166.

       DWSWA denies the allegations contained in paragraph 166 of Plaintiff’s

Complaint.



                                    167.


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       DWSWA denies the allegations contained in paragraph 167 of Plaintiff’s

Complaint.

                                    168.

       DWSWA denies the allegations contained in paragraph 168 of Plaintiff’s

Complaint.

                                    169.

       DWSWA denies the allegations contained in paragraph 169 of Plaintiff’s

Complaint.

                                    170.

       DWSWA denies the allegations contained in paragraph 170 of Plaintiff’s

Complaint.

                                    171.

       DWSWA denies the allegations contained in paragraph 171 of Plaintiff’s

Complaint.

       Count Five: Punitive Damages (All Defendants Except Dalton Utilities)

                                    172.

       DWSWA incorporates by reference its responses to paragraphs 1 through 162

as if restated herein.

                                    173.


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     DWSWA denies the allegations contained in paragraph 173 of Plaintiff’s

Complaint.

                                174.

     DWSWA denies the allegations contained in paragraph 174 of Plaintiff’s

Complaint.

                                175.

     DWSWA denies the allegations contained in paragraph 175 of Plaintiff’s

Complaint.

                                176.

     DWSWA denies the allegations contained in paragraph 176 of Plaintiff’s

Complaint.

                                177.

     DWSWA denies the allegations contained in paragraph 177 of Plaintiff’s

Complaint.

                                178.

     DWSWA denies the allegations contained in paragraph 178 of Plaintiff’s

Complaint.



                                179.


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       DWSWA denies the allegations contained in paragraph 179 of Plaintiff’s

Complaint.

                                    180.

       DWSWA denies the allegations contained in paragraph 180 of Plaintiff’s

Complaint.

                                    181.

       DWSWA denies the allegations contained in paragraph 181 of Plaintiff’s

Complaint.

                                    182.

       DWSWA denies the allegations contained in paragraph 182 of Plaintiff’s

Complaint.

       Count Five: Punitive Damages (All Defendants Except Dalton Utilities)

                                    183.

       DWSWA incorporates by reference its responses to paragraphs 1 through 183

as if restated herein.

                                    184.

       DWSWA denies the allegations contained in paragraph 184 of Plaintiff’s

Complaint.

                                    185.


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      DWSWA denies the allegations contained in paragraph 185 of Plaintiff’s

Complaint.

                                    186.

      DWSWA denies the allegations contained in paragraph 186 of Plaintiff’s

Complaint.

                                    187.

      DWSWA denies the allegations contained in paragraph 187 of Plaintiff’s

Complaint.

                                    188.

      DWSWA denies the allegations contained in paragraph 188 of Plaintiff’s

Complaint.

                                    189.

      DWSWA denies that Plaintiff is entitled to any relief requested in the

“Wherefore” clause of Plaintiff’s Complaint.

                                    190.

      DWSWA denies the allegations contained in paragraph 190 of Plaintiff’s

Complaint.

                                    191.

      DWSWA denies the allegations contained in paragraph 191 of Plaintiff’s


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Complaint.


                                    192.

       DWSWA denies the allegations contained in paragraph 192 of Plaintiff’s

Complaint.

                                    193.

       DWSWA denies the allegations contained in paragraph 193 of Plaintiff’s

Complaint.

                          COUNT EIGHT:
                      CLAIMS FOR ABATEMENT
                AND INJUNCTION OF PUBLIC NUISANCE

                                    194.

       DWSWA incorporates by reference its responses to paragraphs 1 through 193

as if restated herein.

                                    195.

       DWSWA denies as plead the allegations contained in paragraph 195 of

Plaintiff’s Complaint.

                                    196.

       DWSWA is without knowledge or information sufficient to form a belief as to

the truth of the averments contained in paragraph 196 of Plaintiff’s Complaint and,

therefore, cannot admit or deny same.

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                                      197.

      DWSWA denies as plead the allegations contained in paragraph 197 of

Plaintiff’s Complaint.

                                      198.

      DWSWA denies as plead the allegations contained in paragraph 198 of

Plaintiff’s Complaint.

                                      199.

      DWSWA denies as plead the allegations contained in paragraph 199 of

Plaintiff’s Complaint.

                                      200.

      DWSWA denies as plead the allegations contained in paragraph 200 of

Plaintiff’s Complaint.

      DWSWA denies Plaintiff and proposed class members are entitled to any relief

contained in the WHEREFORE paragraph.

                                 THIRD DEFENSE

      Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                FOURTH DEFENSE

      The Plaintiff’s failure to properly plead items of special damages sought in this


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action prohibits and/or bars Plaintiff’s rights to recover and/or recoup any items of

special damages in this action, as a matter of law.

                                  FIFTH DEFENSE

      Defendant raises and preserves the affirmative defenses of accord and

satisfaction, arbitration and award, discharge in bankruptcy, contributory and

comparative negligence, duress, estoppel, failure of consideration, fraud, illegality,

injury by fellow servant, laches, license, payment, release, res judicata, statute of

frauds, statute of limitations, and waiver set forth in FRCP 8(c).

                                  SIXTH DEFENSE

      This defendant denies Plaintiff is entitled to any injunctive relief requested in

the complaint.

                                SEVENTH DEFENSE

      Defendant reserves any actions for contribution or indemnity against any such

third parties, and reserves its right to such remedies.

                                 EIGHTH DEFENSE

      The claims brought by Plaintiff and the purported class are barred by the

applicable statute of limitations and applicable statutes or rules of repose.

                                  NINTH DEFENSE

      Defendant states the state-law claims are barred by sovereign immunity.


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                                  TENTH DEFENSE

      Plaintiff failed to comply with all conditions precedent to filing a suit, including

but not limited to ante litem notice requirements.

                               ELEVENTH DEFENSE

      The proposed class action fails to meet the numerosity, commonality, and

typicality requirements of FRCP 23(a)(2).

                                TWELFTH DEFENSE

      The named Plaintiff will not adequately and fairly protect the interests of the

proposed class, as required by FRCP 23(a)(4).

                             THIRTEENTH DEFENSE

      The proposed class lacks common questions of law or fact as required by FRCP

23(b)(3).

                             FOURTEENTH DEFENSE

      The Complaint should be dismissed because the named plaintiffs are not

adequate representatives of the proposed class.

                DEMAND FOR JURY TRIAL BY TWELVE (12)

      Defendant, demands that the above-captioned case be tried by a jury of twelve.

      WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.


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   This 1st day of February, 2022.

                             Goodman McGuffey LLP
                             Attorneys for
                             Dalton Whitfield Regional Solid Waste Authority

                      By:    /s/ Robert A. Luskin
                             Robert A. Luskin
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DEFENDANT DEMANDS
JURY OF TWELVE




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

   JARROD JOHNSON, individually,
   and on Behalf of a Class of persons          Civil Action
   similarly situated,                          File No.:    4:20-cv-00008-AT

          Plaintiff,
   v.

   3M COMPANY, et al.

          Defendants.

                             CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing Defenses and Answer of Dalton Whitfield

Regional Solid Waste Authority to the Fourth Amended Complaint has been

electronically filed with the Clerk of Court by using the CM/ECF system which will

automatically serve notice of this filing and a true and correct copy of same all counsel

of record.

        This 21st day of February, 2022

                            By:   /s/ Robert A. Luskin
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                                  GA State Bar No.: 004383
                                  rluskin@GM-LLP.com
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